               Case 4:11-cv-00733-DPM Document 20 Filed 02/06/12 Page 1 of 2




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                 U.S. CIS
            El.ST£RN y·,
                            f':T   r· .
                                          , IN THE UNITED STATES DISTRICT COURT

               2012 FEB -6 l\f'1 !0: 32 EASTERN DISTRICT OF ARKANSAS
                                                  UTILE ROCK ARKANSAS




    ARTHUR CARSON, PLAINTIFF

    vs.
    ELNORA & HOSEA THOMPSON, DEFENDANTS




                                               PLAINTIFF'S ITEMIZED CLAIM




    TO THE HONORABLE JUDGE OF SAID COURT:

     COMES NOW THE PLAINTIFF, ARTHUR CARSON, PURSUANT TO THIS COURT'S ORDER would like to
    show the Court the following:

    1).Reparation under the equity protection statue or damages for house; 109 Palm Oak Dr, or lot 20-

    Block B/6263 of shady hills addition-$50,000;

    2).$7,000-Aitima Vehicle;

    3 ).$3,000-0rgan-Piano;

    4).$3,000-Coin collection;

    5).$7,000-Cash Savings & Income illegally taken from June-September 2008;

    6).$500-357 magnum;

    7).$300-Lawn Mower & Table;

    8).$5,000- Funds raised under false light donations from the Metropolitan Church;

    $76,300.

                                                           (1)
               Case 4:11-cv-00733-DPM Document 20 Filed 02/06/12 Page 2 of 2

...

  RESPECTFULLY SUBMITTED

      ~ Ccv~
  Arthur Carson

  8215 Spanish Rd

  Little Rock , AR 72209




      I Swear the foregoing statements are true and correct,




  Arthur Carson




                                            CERTIFICATE OF SERVICE




      I certify that a copy of the foregoing itemized claim is hereby mailed to: Elnora & Hosea Thompson,

 This 4th day of February, 2012, by placing same in the U.S. Mail postage prepaid.

      ~c~
  Arthur Carson




                                                       (2)
